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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )      CRIMINAL NO.
                                             )
                v.                           )      VIOLATIONS: 18 U.S.C. § 1031
                                             )      (Major Fraud against the United States)
RICK CUNEFARE,                               )
                                             )
                      Defendant.             )
                                             )

                                        INFORMATION

       The United States of America hereby charges that:

                                           Background

       At all times material to this Information:

                                Relevant Individuals and Entities

1.     Company 1 was a diversified real estate services company headquartered in Philadelphia,

Pennsylvania. Company 1 was a division of a publicly traded multinational real estate and

construction company based in the United Kingdom, for which securities were traded as American

Depositary Receipts in the United States. Company 1 was one of the nation’s largest for-profit

providers of military family housing, operating housing communities at approximately 21 U.S. Air

Force bases and approximately 34 Army and Navy bases throughout the United States. Company

1 generally operated these military housing communities through a network of wholly owned

subsidiaries.

2.     Defendant RICK CUNEFARE (“CUNEFARE”) was a citizen of the United States whose

primary residence was in Phoenix, Arizona. From in or around 2013 through in or around 2015,

CUNEFARE served as a Regional Manager for Company 1. CUNEFARE oversaw the military

housing communities that Company 1 developed and operated at Lackland Air Force Base
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(“AFB”), Travis AFB, Vandenberg AFB, Tinker AFB, and Fairchild AFB, which were

Department of Defense installations. At all relevant times, and in furtherance of the scheme

detailed herein, CUNEFARE acted within the scope of his agency with and employment at

Company 1, and to benefit himself, Company 1, and its parents, affiliates, and subsidiaries. The

participants in the scheme also acted within the scope of their agency with and employment at

Company 1, and to benefit, Company 1, and its parents, affiliates, and subsidiaries. CUNEFARE

participated in the scheme described herein with the full knowledge, consent, and encouragement

of his superiors at Company 1.

                   Company 1’s Operation of Military Housing Communities

3.     Company 1 entered into agreements with the U.S. Air Force to develop and manage

military housing communities at U.S. Air Force installations across the country, including at

Lackland AFB, Travis AFB, Vandenberg AFB, Tinker AFB, and Fairchild AFB. These

agreements were generally valued at more than $1,000,000. For example, the U.S. Air Force

loaned Company 1 approximately $69,500,000 in connection with the development and ongoing

operation of the military housing community at Lackland AFB.

4.     Company 1 was paid fees by the U.S. Air Force for the various phases of development and

management of each community, from design and construction, to ongoing community

management and maintenance.

5.     Company 1’s fee for community management and maintenance of a military housing

community generally consisted of (1) a base fee, paid monthly, and (2) a discretionary performance

incentive fee (the “Performance Incentive Fee”), paid quarterly. The Performance Incentive Fee

was in part contingent on Company 1 satisfying maintenance objectives at the military housing

community (“Maintenance Performance Objectives”).



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6.     To obtain the Performance Incentive Fee, Company 1 was required to report true and

accurate information to the U.S. Air Force concerning Maintenance Performance Objectives. In

turn, the U.S. Air Force relied upon Company 1’s reports regarding its level of responsiveness to

maintenance issues in assessing what, if any, Performance Incentive Fee was warranted.

7.     From in or around 2013 through in or around 2015, Company 1, acting through its agents,

routinely submitted materially false and fraudulent information to the U.S. Air Force regarding

maintenance issues at the housing communities that it managed. CUNEFARE oversaw the

production and submission to the U.S. Air Force of reports containing materially false and

fraudulent information. As a result, the U.S. Air Force was deceived into believing that Company

1 was meeting Maintenance Performance Objectives, and properly maintaining housing

communities for the benefit of servicemembers and their families. In truth and in fact, contrary to

Company 1’s representations to the U.S. Air Force, portions of the housing communities overseen

by CUNEFARE and his co-schemers had fallen into disrepair, and servicemembers waited

unreasonable amounts of time for Company 1 to remedy maintenance issues.

                                       COUNT ONE
                            Major Fraud Against the United States
                                  (18 U.S.C. §§ 1031 and 2)

                              The Scheme and Artifice to Defraud

8.     From in or around 2013 and continuing through in or around 2015, the defendant,

                                      RICK CUNEFARE,

aided and abetted by others known and unknown to the United States, in any grant, contract,

subcontract, subsidy, loan, guarantee, insurance, and other form of Federal assistance, and in any

procurement of property and services as a prime contractor with the United States and as a

subcontractor and supplier on a contract in which there was a prime contract with the United States,



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where the value of such grant, contract, subsidy, loan, guarantee, insurance, and other form of

Federal assistance, and any constituent part thereof, was $1,000,000 or more, knowingly executed

and attempted to execute a scheme and artifice with the intent: (a) to defraud the United States;

and (b) to obtain money and property by means of materially false and fraudulent pretenses,

representations and promises.

                                Purposes of the Scheme and Artifice

9.      The purpose of the scheme and artifice was for CUNEFARE and his co-schemers to

unlawfully enrich and benefit Company 1 and themselves by: (1) using false and fraudulent

representations to obtain Performance Incentive Fees from the U.S. Air Force to which Company

1 was not entitled; and (2) concealing the scheme.

                        Manner and Means of the Scheme and Artifice

10.     The manner and means by which CUNEFARE and his co-schemers sought to, and did,

achieve the purposes of the scheme and artifice included the following:

           a. CUNEFARE’s co-schemers, including his superiors at Company 1, directed

CUNEFARE, and CUNEFARE agreed, to represent to the U.S. Air Force that they had met the

Maintenance Performance Objectives necessary for Company 1 to obtain Performance Incentive

Fees without regard to whether maintenance was in fact performed on time.

           b. CUNEFARE directed co-schemers who he supervised, orally and in writing, to

supply him with Quarterly Maintenance Reports falsely and fraudulently reflecting that

Maintenance Performance Objectives had been met in quarters in which Company 1 did not

complete the Maintenance Performance Objectives necessary to obtain Performance Incentive

Fees. In particular, CUNEFARE sent emails directing co-schemers that “all times must be




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achieved” and percentages for task response and completion were required to be reported as 95%

or higher, regardless of what actual times were, because “we have to earn our incentive fee.”

           c. CUNEFARE reviewed and approved Quarterly Maintenance Reports containing

materially false and fraudulent information, knowing that they would be submitted to the U.S. Air

Force to support payment of Performance Incentive Fees to Company 1.

                             Execution of the Scheme and Artifice

11.    From in or around 2013 and continuing through in or around 2015, CUNEFARE and his

co-schemers did knowingly execute and attempt to execute the scheme and artifice as described

above, with the intent to defraud the United States, and to obtain money and property by means of

false and fraudulent pretenses, representations, and promises, to wit: directing subordinates to

falsify work order performance information, and causing false and fraudulent information

regarding work order performance to be supplied to the U.S. Air Force.

       All in violation of Title 18, United States Code, Sections 1031 and 2.

                                             Respectfully submitted,

                                             DANIEL S. KAHN
                                             Acting Chief, Fraud Section
                                             Criminal Division
                                             United States Department of Justice


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